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              UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION
                               1:24-cr-00371-SDG
                                 USA v. Schwartz
                           Honorable Steven D. Grimberg


          Minute Sheet for proceedings held In Open Court on 02/12/2025.


  TIME COURT COMMENCED: 11:00 A.M.
  TIME COURT CONCLUDED: 11:35 A.M.             COURT REPORTER: Alicia Bagley
  TIME IN COURT: 00:35                         DEPUTY CLERK: Danielle Brye
  OFFICE LOCATION: Atlanta
DEFENDANT(S):       [1]Elchonon Schwartz Present at proceedings
ATTORNEY(S)         Kelly Connors representing USA
PRESENT:            Colin Garrett representing Elchonon Schwartz
                    Matthew Sullivan representing USA
PROCEEDING
                Change of Plea.
CATEGORY:
PLEADINGS
                Guilty Plea and Plea Agreement
FILED IN COURT:
MINUTE TEXT:    Change of Plea hearing held on February 12, 2025. Defendant
                was sworn, advised of rights, and a guilty plea was entered as to
                Sole Count of the Information pursuant to a plea agreement. The
                Court accepted the plea as knowingly and voluntarily entered.
                Guilty Plea and Plea Agreement filed. Sentencing Hearing shall
                be held on May 19, 2025 at 2:00pm. The Court ORDERED that
                the Defendant shall remain on his current Bond Conditions
                pending sentencing.
HEARING
                Hearing Concluded
STATUS:
ADDL
                Sentencing Hearing set for Monday, May 19, 2025 at 2:00PM in
HEARING(S)
                Courtroom 1706.
SCHEDULED:
